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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_________________________________________________________________________________

GLENN M. ROSS and MARTHA ROSS, h/w              : CIVIL ACTION
142 Chinaberry Drive                            :
Lafayette Hill, PA 19444                        :
      v.                                        : JURY TRIAL DEMANDED
THE CATHOLIC UNIVERSITY OF AMERICA              :
620 Michigan Avenue NE                          :
Washington, D.C. 20064                          : No.
_________________________________________________________________________________


                            NOTICE OF REMOVAL OF CIVIL ACTION


       1. This civil action, pursuant to the provisions of 28 U.S.C. §1441(a), is a case or controversy
brought in a State court, of which the district courts of the United States have original jurisdiction
pursuant to the provisions of 28 U.S.C. §1332, as is more fully set forth below.
       2. The Catholic University of America is the defendant in the civil action commenced on
February 19, 2020, in the Court of Common Pleas Philadelphia County, First Judicial District of
Pennsylvania, at Docket number 200202190, entitled Glenn M. Ross and Martha Ross, h/w,
Plaintiffs, vs. The Catholic University of America, Defendant.


                                SUBJECT MATTER JURISDICTION


       4. This civil action is between is between Citizens of different States, pursuant to the
provisions of 28 U.S.C. §1332(a)(1), in that:
                (a) Plaintiffs Glenn M. Ross and Martha Ross, h/w, are individuals who reside at 142
Chinaberry Drive, Lafayette Hill, PA 19444, and are therefore citizens of the Commonwealth of
Pennsylvania.
                (b) The Catholic University of America is a congressionally-chartered corporation
with its principal place of business located at 620 Michigan Avenue NE, Washington, D.C. 20064,
and therefore is a citizen of the District of Columbia for purposes of the provisions of 28 U.S.C.
§1332(c)(1).
       5. Furthermore, pursuant to the provisions of 28 U.S.C. §1441(b), none of the parties in
interest properly joined and served as defendants is a citizen of the State in which this action is
brought.
       6. Defendant The Catholic University of America believes and therefore avers that the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, pursuant to the
provisions of 28 U.S.C. §1332(a)(1), based on the averments of Plaintiffs' Complaint.


                                                VENUE


       6. The United States District Court for the Eastern District of Pennsylvania, pursuant to the
provisions of 28 U.S.C. §1441(a), is the district court of the United States for the district and division
embracing the place where such action is pending.


                                    TIMELINESS OF REMOVAL


       7. Defendant The Catholic University of America believes and therefore avers that this
Notice of Removal is timely filed, pursuant to the provisions of 28 U.S.C. §1446(b). The earliest
service "of a copy of the initial pleading setting forth the claim for relief upon which such action or
proceeding is based", as set forth in 28 U.S.C. §1446(b), upon any defendant herein was made on
defendant The Catholic University of America, no earlier than February 24, 2021, and this Notice of
Removal is filed within thirty days after such receipt.


                          OTHER REQUIREMENTS OF 28 U.S.C. §1446


       8. A true copy of Plaintiff’s Complaint and Plaintiffs' Writ of Summons, which constitute all
process, pleadings, and orders served upon defendant The Catholic University of America in this
action, are attached hereto, pursuant to the provisions of 28 U.S.C. §1446(a), incorporated herein by
reference and marked as Exhibit "A" and Exhibit "B", respectively.
       9. Defendant The Catholic University of America has given written notice of this Notice of
Removal promptly after the filing thereof to all adverse parties, pursuant to the provisions of 28
U.S.C. §1446(d), as set forth in the attached Certification of Service.
       10. Defendant The Catholic University of America shall file a certified copy of this Notice of
Removal with the Prothonotary of the Court of Common Pleas Philadelphia County, Pennsylvania,
the clerk of the State court in which this action was originally filed, pursuant to the provisions of 28
U.S.C. §1446(d).


       WHEREFORE, defendant herein file this Notice to remove the above action now pending in
Court of Common Pleas Philadelphia County, First Judicial District of Pennsylvania, at Docket
number 200202190, from that Court to this Court.


Date: March 19, 2021.

                                              Respectfully submitted,

                                              LAW OFFICES OF W. KELLY McWILLIAMS

Validation of Signature Code: JRM4406         / S / John R. McHaffie

                                              By:_________________________________
                                                 JOHN R. McHAFFIE, ESQUIRE
                                                 Attorney for defendant
                                                 The Catholic University of America
                                              john.mchaffie@thehartford.com
                                              PA ATTORNEY ID NO. 37429
                                              1515 MARKET STREET, SUITE 1802
                                              PHILADELPHIA, PA 19102
                                              (215) 446-7669 / FAX (215) 564-0109
                                  CERTIFICATION OF SERVICE

       I hereby certify that I have served a true and correct copy of this document on the following
counsel and parties of record, by first class mail, postage prepaid, and/or by electronic mail ("e-mail")
to "glennrosspc@comcast.net", on March 19, 2021.


       Glenn M. Ross, Esquire / GLENN M. ROSS, P.C.
       566 South Bethlehem Pike, Fort Washington, PA 19034
       Attorney for Plaintiffs Glenn M. Ross and Martha Ross, h/w


       In addition, this document has been filed electronically and is available for viewing and
downloading from the ECF system.




Validation of Signature Code: JRM4406                 / S / John R. McHaffie
                                              By:_________________________________
                                                 JOHN R. McHAFFIE, ESQUIRE
                                                  Attorney for defendant
                                                 The Catholic University of America
                                              john.mchaffie@thehartford.com
                                              PA ATTORNEY ID NO. 37429
                                              1515 MARKET STREET, SUITE 1802
                                              PHILADELPHIA, PA 19102
                                              (215) 446-7669 / FAX (215) 564-0109
EXHIBIT "A"




EXHIBIT "A"
EXHIBIT "B"




EXHIBIT "B"
 Filed and Attested by the
Office of Judicial Records
    19 FEB 2020 02:56 pm
        A. SILIGRINI




           200202190
         19 FEB 2020 02:56 pm
                A. SILIGRINI




                Case ID: 200202190
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